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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

UNITED STATES                                                                           PLAINTIFF

v.                                   Case No. 2:14-CR-20027-003

RANDAL JERNIGAN                                                                      DEFENDANT

                                            ORDER

       Currently before the Court is the report and recommendation (Doc. 48) filed in this case on

September 30, 2014, by the Honorable James R. Marschewski, Chief United States Magistrate Judge

for the Western District of Arkansas. Both parties have waived the right to object to the report and

recommendation for the purpose of expediting acceptance of the guilty plea in this matter. (Doc. 48).

       The Court has reviewed this case and, being well and sufficiently advised, finds as follows:

the report and recommendation is proper and should be and hereby is ADOPTED IN ITS

ENTIRETY.

       Accordingly, for the reasons stated in the Magistrate Judge’s report and recommendation,

Defendant’s guilty plea is accepted, and the written plea agreement is tentatively approved, subject

to final approval at sentencing.

       IT IS SO ORDERED this 1st day of October, 2014.


                                                              /s/P. K. Holmes, III
                                                              P.K. HOLMES, III
                                                              CHIEF U.S. DISTRICT JUDGE
